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                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01922-WJM-STV

  UNITED STATES OF AMERICA,

  Plaintiff,

  v.

  1.      $10,000.00 IN UNITED STATES CURRENCY;
  2.      MISCELLANEOUS JEWELRY;
  3.      $5,475.18 FROM BANK OF AMERICA ACCOUNT NO. 325086466699;
  4.      $1,039.99 FROM AMERICAN EXPRESS BANK ACCOUNT NO. 320001377741;
          AND
  5.      2017 FORD MUSTANG VIN: 1FA6P8CF3H5257534.

  Defendants.



                   ENTRY OF APPEARANCE OF FORFEITURE COUNSEL

       To:        The clerk of court and all parties of record

                  I hereby certify that I am a member in good standing of the bar of this

       court, and I appear in this case as counsel for the United States of America.

             DATED at Denver, Colorado this 4th day of December, 2017.

                                              ROBERT C. TROYER
                                              United States Attorney

                                              s/ Wayne Campbell
                                              Wayne Campbell
                                              Assistant United States Attorney
                                              United States Attorney’s Office
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                                              Denver, Colorado 80202
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of December, 2017, I electronically filed the
  foregoing with the Clerk of Court using the ECF system which will send notice to all
  counsel of record.

                                                    s/ Jody Gladura
                                                    FSA Data Analyst
                                                    Office of the U.S. Attorney
